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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

Joseph Barry Malasky,                 )     C/A No.: 0:20-2055-MGL-SVH
                                      )
                  Plaintiff,          )
                                      )
      vs.                             )
                                      )
                                      )
Ram Jack of South Carolina, Inc.      )                 ORDER
and Scott Erlewine, individually      )
and as owner of Ram Jack of South     )
Carolina, Inc.,                       )
                                      )
                  Defendants.         )
                                      )


     This matter comes before the court on the motion [ECF No. 42] of Ram

Jack of South Carolina, Inc., and Scott Erlewine, individually and as owner of

Ram Jack of South Carolina, Inc. (“Defendants”), to compel Joseph Barry

Malasky (“Plaintiff”) to produce responses to Defendants’ Third Set of

Interrogatories and Requests for Production of Documents (“Discovery

Requests”), which are attached to Defendants’ motion at ECF No. 42-1.

     The motion indicates the Discovery Requests were first served on

Plaintiff on September 21, 2021. After informal attempts to obtain responses

to the Discovery Requests from Plaintiff, Defendants had not received

responses by October 28, 2021, the date Defendants filed their motion to

compel.

                                      1
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       In light of the foregoing, the court grants Defendants’ motion to compel.

Plaintiff is directed to provide responses to the Discovery Requests by

November 2, 2021. Because Plaintiff failed to timely respond to the discovery,

any and all objections are deemed waived under Fed. R. Civ. P. 33(b)(4).

Plaintiff is advised that failure to comply with the court’s order may result in

sanctions, including payment of Defendants’ attorneys’ fees and costs in

preparing such motions. 1

       IT IS SO ORDERED.


October 28, 2021                            Shiva V. Hodges
Columbia, South Carolina                    United States Magistrate Judge




________________________________________________________
1 The court declines, at this time, Defendants’ request for reasonable
expenses, including attorney’s fees, and the dismissal of Plaintiff’s ADA claim
as a sanction for Plaintiff’s conduct, with leave to renew if Plaintiff fails to
comply with the court’s order. [See ECF No. 42].
                                        2
